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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG           *
       “DEEPWATER HORIZON” IN THE         *              MDL NO. 2179
       GULF OF MEXICO, on APRIL 20, 2010 *
                                          *
                                          *              SECTION J
THIS DOCUMENT RELATES TO:                 *
                                          *              JUDGE BARBIER
ALL CASES                                 *              MAG. JUDGE SHUSHAN
                                          *
*******************************************


                              NOTICE OF HEARING


       PLEASE TAKE NOTICE that Plaintiffs will bring their Motion for Summary

Judgment before the Honorable Carl J. Barbier at the United States District Courthouse,

500 Camp Street, New Orleans, Louisiana, at 9:30 a.m. on November 24, 2010.




   /s/ Stephen J. Herman                      /s/ James Parkerson Roy_____________
Stephen J. Herman, La. Bar No. 23129       James Parkerson Roy, La. Bar No. 11511
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